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                                IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE SOUTHERN DISTRICT OF TEXAS
                                           HOUSTON DIVISION

        In re:                                         §    Chapter 11
                                                       §
        NEIGHBORS LEGACY HOLDINGS,                     §    Case No. 18-33836
        LLC,                                           §
                                                       §
                   Debtors.                            §
                                                       §
                                                       §
        INFINITY EMERGENCY                             §
        MANAGEMENT GROUP, LLC                          §
                                                       §
                   Plaintiff,                          §
                                                       §    Adv. No. 18-______________
        v.                                             §
                                                       §
        NEIGHBORS HEALTH SYSTEM, INC.,                 §    Removed from the 269th Judicial
        NEIGHBORS HEALTH, LLC,                         §    District Court for Harris County, Texas
        NEIGHBORS INVESTMENT GROUP,                    §    Cause No. 2017-73050
        LLC                                            §
        NEIGHBORS GP, LLC                              §
        SETUL G. PATEL, M.D.,                          §
        PAUL ALLEYNE, M.D.,                            §
        MICHAEL CHANG, M.D.,                           §
        ANDY CHEN, M.D.,                               §
        CYRIL GILLMAN, M.D.,                           §
        QUANG HENDERSON, M.D.,                         §
        DHARMESH PATEL, M.D., AND                      §
        HITESH PATEL, M.D.                             §
                                                       §
                   Defendant.                          §

             MICHAEL CHANG, ANDY CHEN, QUANG HENDERSON, AND HITESH PATEL’S
                                  NOTICE OF REMOVAL

                   Michael Chang, Andy Chen, Quang Henderson, and Hitesh Patel (the "Doctors"),

        defendants in the above-captioned case, hereby file this Notice of Removal (the “Notice”) pursuant

        to 28 U.S.C. § 1452, Federal Rule of Bankruptcy Procedure 9027 and Bankruptcy Local Rule 9027-

        1.




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                   1.       The lawsuit being removed is Cause No. 2017-73050 pending in the 269th Judicial

        District Court for Harris County, Texas (the “State Court”) and styled Infinity Emergency

        Management Group, LLC v. Neighbors Health System, Inc. et al. (the “Lawsuit”). The Lawsuit is

        being removed to the Bankruptcy Court for the Southern District of Texas, Houston Division,

        through referral by the United States District Court for the Southern District of Texas, Houston

        Division pursuant to General Order 2012-6.

                   2.       This Notice of Removal is filed pursuant to 28 U.S.C. §§ 1334, 1441, and 1452, Rule

        9027 of the Federal Rules of Bankruptcy Procedures (the “Bankruptcy Rules”), and Rules 9027-1,

        9027-2 of the Southern District of Texas Bankruptcy Local Rules (the “Local Rules”).

                   3.       On October 30, 2017, Plaintiff Infinity Emergency Management Group, LLC filed a

        the lawsuit, asserting, among other claims, breach of contract, money had and received, breach of

        fiduciary duty, and fraud, against Debtors Neighbors Health, LLC and Neighbors GP, LLC and the

        non-Debtor Doctor Defendants and other non-Debtor Defendants. All Defendants timely answered.

                   4.       On April 26, 2018, Plaintiff filed its First Amended Petition. On June 8, 2018,

        Plaintiff filed its Second Amended Petition. The Second Amended Petition is the current live

        pleading.

                   5.       All pleadings, process, orders, and other filings in the State Court Action are filed

        herewith in accordance with Bankruptcy Rule 9027(a) and Bankruptcy Local Rule 9027-1(b).

                                                   Timeliness of Removal

                   6.       On July 12, 2018 (the “Petition Date”), the Debtors filed voluntary petitions for relief

        in the United States Bankruptcy Court for the Southern District of Texas (the “Court”).

                   7.       The Notice of Removal is timely filed under Bankruptcy Rule 9027(a)(2)(A) because

        it has been filed within 90 days after the order for relief. No order terminating the stay has been



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        entered with respect to the State Court Action and no trustee has qualified in these chapter 11 cases

        so the time limits imposed by Bankruptcy Rule 9027(a)(2)(B) & (C) are not applicable here.

                   8.       No previous removal of this case has been attempted or effected.

                                                           Venue

                   9.       Venue of this removal is proper under 28 U.S.C. § 1441(a) because this Court is

        Bankruptcy Court of the United States District Court for the district and division encompassing the

        state court where the action is pending.

                                                        Jurisdiction

                   10.      The State Court Action involves causes of action asserted by Plaintiff against

        Debtors Neighbors Health, LLC and Neighbors GP, LLC.

                   11.      The Court has jurisdiction to consider the State Court Action under 28 U.S.C. §1334

        as a civil proceeding related to the Debtors’ chapter 11 cases. Removal of the State Court Action is

        thus appropriate under 28 U.S.C. §1452 as a “claim or cause of action in a civil action . . . to the

        district court for the district where such civil action is pending, if such district court has jurisdiction

        of such claim or cause of action under section 1334 of this title.”

                   12.      This is a non-core proceeding. The Doctors consent to the entry of final orders or

        judgment by the Court if it is determined that the Court, absent consent of the parties, cannot enter

        final orders or judgment consistent with Article III of the United States Constitution.

                                                        The Parties

                   15.      Plaintiff Infinity Emergency Management Group, LLC is a limited liability company

        organized and existing under Texas state law with offices in El Paso, Texas. Plaintiff’s counsel is:

               Simon W. Hendershot, III
               trey@hcmhlaw.com
               Christy L. Martin
               cmartin@hcmhlaw.com
               Benjamin L. Hisey

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               HENDERSHOT, CANNON, MARTIN & HISEY P.C.
               1800 Bering Drive, Suite 600
               Houston, Texas 77057

                   16.   Defendants Neighbors Health System, Inc., Neighbors GP LLC, Neighbors

        Investment Group LLC, and Neighbors Health LLC are each Texas entities with their principle

        place of business in Harris County. Defendants Neighbors Health System, Inc., Neighbors GP

        LLC, Neighbors Investment Group LLC, Neighbors Health LLC have each been served and made

        an appearance in this case and their counsel is:

                   Clay Steely
                   Texas State Bar No. 09597500
                   PORTER HEDGES LLP
                   1000 Main Street, 36th Floor
                   Houston, Texas 77002
                   Telephone: 713-226-6648
                   Email: csteely@porterhedges.com

                   17.   Defendant Neighbors Investment Group LLC is a Texas entity with its principle

        place of business in Harris County. Defendant Neighbors Investment Group LLC has been served

        and made an appearance in this case and their counsel is:

                   Staton M. Childers
                   Texas State Bar No. 00796348
                   ADAMS AND REESE LLP
                   1221 McKinney St. Ste 4400
                   Lyondellbasell Tower
                   Houston, Texas 77010
                   Telephone: 713-308-0109
                   Email: staton.childers@arlaw.com


                   18.   Defendants Andy Chen, Hitesh Patel, Michael Chang, and Quang Henderson are

        each individuals who reside in Harris County. Defendants Andy Chen, Hitesh Patel, Michael




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        Chang, and Quang Henderson have each been served and made an appearance in this case and their

        counsel is:

                   James G. Munisteri
                   Texas State Bar No. 14667380
                   J. Michael Thomas
                   Texas State Bar No. 24066812
                   2021 McKinney Avenue, Suite 1600
                   Dallas, Texas 75201
                   Telephone: (214) 999-3000
                   Facsimile: (214) 999-4667
                   Email: jmunisteri@foley.com
                           jmthomas@foley.com

                   19.      Defendants Paul Alleyne and Cyril Gillman are each individuals who reside in Harris

        County.          Defendants Paul Alleyne and Cyril Gillman have each been served and made an

        appearance in this case and their counsel is:

                   Millard A. Johnson
                   Texas State Bar No. 10772500
                   JOHNSON DELUCA KURISKY & GOULD PC
                   1221 Lamar St., #1000
                   Houston, Texas 77010
                   Telephone: 713-652-2525
                   Email: mjohnson@jdkglaw.com

                   20.      Defendant Dharmesh Patel is an individual who resides in Harris County. Defendant

        Dharmesh Patel has been served and made an appearance in this case and his counsel is:

                   Christina Minshew
                   Texas State Bar No. 24013170
                   MOYER LEWIS &PATTON
                   11767 Katy Fwy, Ste. 990
                   Houston, Texas 77079
                   Telephone: 832-327-1180

                   21.      Defendant Setul Patel is an individual who resides in Harris County. Defendant

        Setul Patel has been served and made an appearance in this case and his counsel is:

                   Paul D. Flack
                   Texas State Bar No. 00786930


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                   PRATT & FLACK LLP
                   4306 Yoakum Blvd., Suite 500
                   Houston, Texas 77006
                   Telephone: 713-705-3087
                   Email: pflack@prattflack.com

                   22.   On July 12, 2018 (the “Petition Date”), Neighbors Legacy Holdings, Inc. (the

        “Debtor”) filed a voluntary petition for relief under chapter 11 of the United States Code (the

        “Bankruptcy Code”) in the United States Bankruptcy Court for the Southern District of Texas,

        Houston Division (the “Bankruptcy Proceeding”). The Bankruptcy Proceeding is pending as

        Bankruptcy Petition Number 18-33836 before the Honorable Chief Judge Marvin Isgur. Neighbors

        Legacy Holdings, Inc. filed its Suggestion of Bankruptcy in state court on July 17, 2018, thereby

        staying the lawsuit.

                                                   Basis for Removal

                   23.   Removal of the Lawsuit is proper under 28 U.S.C. § 1452(a), which states as

        follows:

                         A party may remove any claim or cause of action in a civil action
                         other than a proceeding before the United States Tax Court or a civil
                         action by a governmental unit to enforce such governmental unit’s
                         police or regulatory power, to the district court for the district where
                         such civil action is pending, if such district court has jurisdiction of
                         such claim or cause of action under section 1334 of this title.

        28 U.S.C. § 1452.

                   24.   Pursuant to 28 U.S.C. § 1334(b) “a district court shall have original but not exclusive

        jurisdiction of all civil proceedings arising under title 11, or arising in or related to cases under title

        11.” 28 U.S.C. § 1334(b). Because the Lawsuit is “related to” the Bankruptcy Proceeding, this

        Court has subject-matter jurisdiction.

                   25.   Through the Lawsuit, Plaintiff is seeking, inter alia, a judgment against the Debtor

        and other Defendants that occurred prior to the Petition Date.


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                   26.   Prior to the Petition Date, Plaintiff claims that the Debtor and the other Defendants

        improperly used property of two separate Series owned, in part, by Plaintiff. Plaintiff claims that

        Debtor made intercompany advances to other Debtor entities and seeks to have such advances

        unwound.

                   27.   Because the Lawsuit intimately involves claims that Plaintiff may have against the

        Debtor and its estate, the Lawsuit constitutes a core proceeding under 28 U.S.C. § 157(b)(2)(A), (B)

        and (O). The Lawsuit is a core proceeding, and the Court has subject matter jurisdiction pursuant to

        28 U.S.C. § 1334(b).

                   28.   Further, pursuant to Federal Rule of Bankruptcy Procedure (the “Bankruptcy

        Rules”) 9027(a)(1), to the extent the Lawsuit may be deemed “non-core,” the Doctors consent to

        entry of final orders or judgment by the Court.

                   29.   When a claim or cause of action is pending in a case at the time a case is filed under

        the Bankruptcy Code, Bankruptcy Rule 9027(a)(2) permits the filing of a notice of removal “within

        the longest of (A) 90 days after the order for relief in the case under the Code, (B) 30 days after

        entry of an order terminating a stay, if the claim or cause of action in a civil action has been stayed

        under §362 of the Code, or (C) 30 days after a trustee qualifies in a chapter 11 reorganization case

        but not later than 180 days after the order for relief.” See Fed. R. Bankr. P. 9027(a)(2). Debtor

        filed its case under the Code on July 12, 2018 and filed its suggestion of stay in the state court

        proceeding on July 17, 2018, and this Notice is, at a minimum, filed within ninety (90) days of the

        filing of the bankruptcy case, therefore, the Notice is timely.

                   30.   Pursuant to Bankruptcy Rule 9027(a) and Bankruptcy Local Rule 9027-1, the

        Doctors have attached hereto as Exhibit A copies of all pleadings that have been filed in the

        Lawsuit.



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                   DATED: September 19, 2018

                                                     Respectfully submitted,

                                                     F O LE Y G AR D ER E
                                                       Foley & Lardner LLP

                                                     By: s/James G. Munisteri
                                                            James G. Munisteri (Attorney-in-Charge)
                                                            Texas State Bar No. 14667380
                                                            John P. Melko
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                                                     ATTORNEYS FOR MICHAEL CHANG,
                                                     ANDY CHEN, QUANG HENDERSON,
                                                     AND HITESH PATEL




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                                         CERTIFICATE OF SERVICE

               I hereby certify that, on September 19, 2018, the foregoing document was served via email
        to counsel listed below as follows:

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                   Email: trey@hcmhlaw.com                           Texas State Bar No. 00796348
                   Christy L. Martin                                 ADAMS AND REESE LLP
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                                                               s/James G. Munisteri
                                                               James G. Munisteri




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